                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


William Feehan,

               Plaintiffs,
                                                                            Case No. 2:20-cv-1771
       vs.

Wisconsin Elections Commission, and its
members, Ann S. Jacobs, Mark L. Thomsen,
Marge Bostelman, Julie M. Glancey, Dean
Knudson, Robert F. Spindell, Jr., in their official
capacities, Governor Tony Evers, in his official
capacity,

               Defendants.



                                   NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that Allison E. Laffey hereby appears in this matter as counsel

 for Proposed Amicus Curiae Wisconsin State Conference NAACP, Dorothy Harrell, Wendell J.

 Harris, Sr., and Earnestine Moss, and further requests that all further notices and copies of

 pleadings, papers, and other materials relevant to this action be directed and served upon her via

 the PACER/ECF electronic filing system, with correspondence, written discovery, and other

 documents not filed with the Court to be served upon her at the address below.




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Dated this 8th day of December 2020.

                                       /s/ Allison E. Laffey
                                       Joseph S. Goode (WI State Bar No. 1020886)
                                       Mark M. Leitner (WI State Bar No. 1009459)
                                       John W. Halpin (WI State Bar No. 1064336)
                                       Allison E. Laffey (WI State Bar No. 1090079)
                                       LAFFEY, LEITNER & GOODE LLC
                                       325 E. Chicago Street
                                       Suite 200
                                       Milwaukee, WI 53202
                                       (414) 312-7003 Phone
                                       (414) 755-7089 Facsimile
                                       jgoode@llgmke.com
                                       mleitner@llgmke.com
                                       jhalpin@llgmke.com
                                       alaffey@llgmke.com

                                       Kristen Clarke (admission pending)
                                       Jon Greenbaum
                                       Ezra Rosenberg
                                       Ajay Saini (admission pending)
                                       Jacob Conarck
                                       Ryan Snow (admission pending)
                                       LAWYERS’ COMMITTEE FOR CIVIL
                                       RIGHTS UNDER LAW
                                       1500 K Street NW
                                       9th Floor
                                       Washington, DC 20005
                                       (202) 662-8315 (phone)
                                       (202) 783-0857 (fax)
                                       kclarke@lawyerscommittee.org
                                       jgreenbaum@lawyerscommittee.org
                                       erosenberg@lawyerscommittee.org
                                       jconarck@lawyerscommittee.org

                                       Attorneys for Proposed Amicus Curiae Wisconsin
                                       State Conference NAACP, Dorothy Harrell,
                                       Wendell J. Harris, Sr., and Earnestine Moss




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